Case 2:24-cv-00371-PA-AGR Document 56-3 Filed 05/13/24 Page 1 of 7 Page ID #:879




                            Exhibit A
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             Case 18-10601-MFW
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                                                                                                CaseLEGAL NOTICE
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                                                          IN THE UNITED STATES BANKRUPTCY COURT                                December 5, 2020, a motion requesting temporary allowance of its Claim solely
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nypost.com




                                           THE WEINSTEIN COMPANY HOLDINGS, LLC, et al., Case No. 18-10601 (MFW)                 SECTIONS 5, 7 AND 14 OF THE PLAN CONTAIN CHANNELING INJUNCTION,
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New York Post, Monday, November 23, 2020




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                                                                                                                               Street, Wilmington, Delaware 19801, Telephone: (302) 651-7700, Facsimile:              off hours addressing spiri-     chemy, faith healing, “an-
                                                                                                                               (302) 651-7701; CRAVATH, SWAINE & MOORE LLP, Paul H. Zumbro, Lauren A.                 tuality. She’d speak at an      cestral” healing, Jewish
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                                           at 5:00 p.m. (ET).                                                                  New York 10019, Telephone: (212) 474-1000, Facsimile: (212) 474-3700                   Upper East Side Christian       mysticism and unortho-
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                                                                                                                                                                                                                                                      over tip from her hair-
                                                                                                                                                                                                                      Fave foods                      dresser bill, sprang for a
                                                                                                                                                                                                                                                      plant. Small, small plant.
                                                                                                                                                                                                                                                                                         CITY Hall plans to im-
                                                                                                                                                                                                                                                                                       prove NYC’s bad neigh-
                                                                                                                                                                                                                        TORI Spelling: “My            Schumer brought cheese-          borhoods. They’re going
                                                                                                                                                                                                                      holiday favorite’s my           cake. Brooklyn’s world-          to tear down those old na-
                                                                                                                                                                                                                      mother’s Jell-O” . . . TAMA     famous Junior’s. No can-         bes and, in the mayor’s
                                                                                                                                                                                                                      Janowitz: “The stuffing.        dles. The fire chief worried     honor, put up a slum.
                                                                                                                                                                                                                      Must include chestnuts. An      that with one for every year,      Only in New York,
 «




                                                                                                                                                                                                                      hour for cooking. Boil a        it could create a fire hazard.   kids, only in New York.
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                                                                                                                                                                                                                                                      over tip from her hair-
                                                                                                                                                                                                                      Fave foods                      dresser bill, sprang for a
                                                                                                                                                                                                                                                      plant. Small, small plant.
                                                                                                                                                                                                                                                                                         CITY Hall plans to im-
                                                                                                                                                                                                                                                                                       prove NYC’s bad neigh-
                                                                                                                                                                                                                        TORI Spelling: “My            Schumer brought cheese-          borhoods. They’re going
                                                                                                                                                                                                                      holiday favorite’s my           cake. Brooklyn’s world-          to tear down those old na-
                                                                                                                                                                                                                      mother’s Jell-O” . . . TAMA     famous Junior’s. No can-         bes and, in the mayor’s
                                                                                                                                                                                                                      Janowitz: “The stuffing.        dles. The fire chief worried     honor, put up a slum.
                                                                                                                                                                                                                      Must include chestnuts. An      that with one for every year,      Only in New York,
 «




                                                                                                                                                                                                                      hour for cooking. Boil a        it could create a fire hazard.   kids, only in New York.
